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June 1, 2020


Via E-mail

Honorable Paul S. Diamond
United States District Judge for the Eastern District of
Pennsylvania
James A. Byrne U.S. Courthouse
601 Market Street
Philadelphia, PA 19106

Re:      United States v. John Dougherty, et al., Case No. 2:19-cr-00064-JLS

Dear Judge Diamond:

Ballard Spahr LLP represents John Dougherty in the above-captioned case. On August 6,
2019, Dougherty filed a Motion to Suppress Title III Wiretap Evidence on the grounds that
the government failed to demonstrate necessity as required by the applicable statute. See
D.E. 97. Dougherty respectfully requests an evidentiary hearing on this motion and
anticipates calling FBI Special Agent Jason Blake to testify as the affiant on the Title III
wiretap affidavit executed on April 29, 2015.

Respectfully yours,




David L. Axelrod

DLA

cc:      AUSA Frank R. Costello
         AUSA Paul L. Gray
         AUSA Richard P. Barrett
         All Defense Counsel of Record




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